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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 WILLIAM McGHEE and CRYSTAL                      CIVIL ACTION
 KERIN, individually and on
 behalf of all others similarly situated,
                                                 Case No.   2:19-cv-1470
                        Plaintiffs,

                v.                               COMPLAINT – COLLECTIVE ACTION

 TOMS KING, LLC.
                                                 JURY TRIAL DEMANDED
                        Defendant.


                            COLLECTIVE ACTION COMPLAINT

       Plaintiffs, William McGhee (“McGhee”) and Crystal Kerin (“Kerin”) (collectively,

(“Plaintiffs”), file this Collective Action Complaint against Defendant, TOMS King, LLC.

(“Defendant” or “TOMS King”), seeking all relief available under the Fair Labor Standards Act,

29 U.S.C. § 201 et seq. (“FLSA”), on behalf of themselves and all current and former “Restaurant

Assistant Managers” (“RAMs”) and “Restaurant General Managers-in-Training” (“RGMITs”),

however variously titled. Plaintiffs also seek all relief available to them individually under the

Pennsylvania Minimum Wage Act of 1968, 43 P.S. § 333.101 et seq. (the “PMWA”). The

following allegations are based on personal knowledge as to Plaintiffs’ own conduct and are made

on information and belief as to the acts of others.

                                  NATURE OF THE ACTION

       1.      Plaintiffs bring this action on behalf of themselves and similarly situated current

and former RAMs and RGMITs to recover unpaid overtime pursuant to the FLSA. TOMS King

violated the FLSA by failing to pay its RAMs and RGMITs overtime compensation for the hours
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they worked over forty (40) in one or more work weeks because TOMS King classifies them as

exempt from overtime.

       2.      Plaintiffs also bring this action on behalf of themselves to recover unpaid overtime

pursuant to the PMWA. TOMS King violated the PMWA by failing to pay Plaintiffs overtime

compensation for all hours they worked over forty (40) in one or more work weeks because TOMS

King classified them as exempt from overtime.

       3.      TOMS King employs RAMs and RGMITs in more than 130 franchise “Burger

King” restaurants located in Illinois, North Carolina, Ohio, Pennsylvania, and Virginia. Although

TOMS King considers its RAMs and RGMITs to be “managers,” RAMs and RGMITs are not

responsible for true management functions. To the contrary, RAMs and RGMITs spend the vast

majority of their time performing the same duties as non-exempt employees, including serving

customers, ringing customers up on the cash register, preparing food, working the drive-thru,

stocking, counting inventory, and cleaning the restaurant.

       4.      RAMs report to Restaurant General Managers who, in turn, report to district and

other supervisory personnel. Restaurant General Managers are the highest level of management

in TOMS King’s restaurants.

       5.      RGMITs also report to Restaurant General Managers. RGMITs participate in a

several week training program in which their primary duty is learning the operations of TOMS

King’s restaurants and how to perform the functions of a Restaurant General Manager. Both

RAMs and RGMITs are classified by TOMS King as exempt from overtime, even though their

duties do not fall within any of the exemptions under federal or state overtime laws.

       6.      As alleged herein, Plaintiffs and all other similarly situated RAMs and RGMITs

were required to work more than forty (40) hours in a workweek while employed by TOMS King


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in order to complete their job duties. However, in accordance with TOMS King’s policy, pattern,

and/or practice, they were misclassified as exempt from overtime compensation and were not paid

at the mandated rate of time-and-one-half for all hours worked in excess of forty (40) in a work

week.

        7.      Pursuant to 29 U.S.C. § 216(b), Plaintiff McGhee bring this action on behalf of

himself and all persons who are or were formerly employed by TOMS King in the United States

during the relevant time period as RAMs, and individuals holding comparable salaried positions

with different titles (the “RAM Collective”).

        8.      Pursuant to 29 U.S.C. § 216(b), Plaintiff Kerin bring this action on behalf of herself

and all persons who are or were formerly employed by TOMS King in the United States during

the relevant time period as RGMITs, and individuals holding comparable salaried positions with

different titles (the “RGMIT Collective”).

        9.      TOMS King’s systematic failure and refusal to pay Plaintiffs and all other similarly

situated RAMs and RGMITs for all hours worked over forty (40) in a workweek violates the

FLSA.

                                          THE PARTIES

Plaintiff William McGhee

        10.      McGhee resides in McKees Rocks, Pennsylvania (Allegheny County). Between

approximately March 2019 and May 2019, McGhee was employed by TOMS King as a RAM at

a Burger King restaurant located in Pittsburgh, Pennsylvania (Allegheny County). Prior this time,

and beginning in approximately July 2018, McGhee worked as an hourly-paid Shift Manager with

TOMS King.

        11.     Throughout his employment as a RAM with TOMS King, McGhee was scheduled


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to work at least 50 hours each week, though he worked more. On average, during each week of

his employment with TOMS King, McGhee worked approximately 60 to 65 hours, including

during the weeks leading up to, and of, St. Patrick’s Day and Easter 2019.

        12.    McGhee spent the vast majority of his time performing the same duties as non-

exempt employees, including serving customers, ringing customers up on the cash register,

preparing food, working the drive-thru, stocking, counting inventory, and cleaning the restaurant.

McGhee performed the same type of work when he was employed by Defendant as a Shift

Manager, though in that role he was paid overtime compensation for working more than forty (40)

hours in a workweek.

        13.    The work McGhee performed was at the direction, and for the benefit, of TOMS

King.

        14.    Pursuant to TOMS King’s policy, pattern or practice of classifying RAMs as

exempt from overtime, McGhee was not paid premium overtime compensation for all hours

worked over forty (40) in a work week.

        15.    Plaintiff McGhee has consented to join this action. See Exhibit A.

Plaintiff Crystal Kerin

        16.    Kerin resides in Heidelburg, Pennsylvania (Allegheny County).             Between

approximately September 2017 and December 2017, Kerin was employed by TOMS King as an

RGMIT. During this time, she participated in TOMS King’s RGMIT training program, which

took place at two Burger King restaurants located in Robinson Township and Pittsburgh,

Pennsylvania (Allegheny County).

        17.    Throughout her employment as an RGMIT with TOMS King, Kerin was scheduled

to work at least 50 hours each week, though she worked more. On average, during each week of


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her employment with TOMS King, Kerin worked approximately 55 to 60 hours, including during

the weeks leading up to, and of, Thanksgiving in 2017.

        18.    Kerin spent the vast majority of her time performing the same duties as non-exempt

employees, including serving customers, ringing customers up on the cash register, preparing food,

working the drive-thru, stocking, counting inventory, and cleaning the restaurant.

        19.    The work Kerin performed was at the direction, and for the benefit, of TOMS King.

        20.    Pursuant to TOMS King’s policy, pattern or practice of classifying RGMITs as

exempt from overtime, Kerin was not paid premium overtime compensation for all hours worked

over forty (40) in a work week.

        21.    Plaintiff Kerin has consented to join this action. See Exhibit B.

Defendant TOMS King, LLC.

        22.    TOMS King, LLC is a corporation with its principal place of business in Palatine,

Illinois.

        23.    TOMS King owns and operates approximately 130 franchise “Burger King”

restaurants. See https://www.tomsking.com/about.html (last accessed on October 31, 2019).

        24.    At all relevant times, TOMS King employed or acted in the interest of an employer

towards Plaintiffs and other similarly situated current and former RAMs and RGMITs and, among

other things, maintained control, oversight and direction over Plaintiffs and other RAMs and

RGMITs, including with respect to timekeeping, payroll and other employment practices that

applied to them.

        25.    TOMS King applies the same employment policies, practices, and procedures to all

RAMs and RGMITs nationwide.

        26.    TOMS King is a covered employer within the meaning of the FLSA because,


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among other things, it employs individuals, including Plaintiffs, who are engaged in interstate

commerce or in the production of goods for interstate commerce or engaged in handling, receiving,

selling, or otherwise working on goods or material that have been moved in or produced for

interstate commerce.

        27.    At all relevant time, TOMS King has had gross revenues exceeding $500,000.00.

                                JURISDICTION AND VENUE

        28.    This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C. §§ 1331, 1332, 1337, and 29 U.S.C. § 216(b).

        29.    In addition, the Court has supplemental jurisdiction over Plaintiffs’ PMWA claims

pursuant to 28 U.S.C. § 1367.

        30.    This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

        31.    TOMS King is subject to personal jurisdiction in Pennsylvania.

        32.    Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C. §

1391(b) since a substantial part of the events or omissions giving rise to the claims in this

Collective Action Complaint occurred within this District and because Plaintiffs reside in this

District.

                          GENERAL FACTUAL ALLEGATIONS

        33.    TOMS King is a private Illinois corporation, with its corporate headquarters in

Palatine, Illinois. According to its website, TOMS King is an independent franchisee of the Burger

King Corporation and “owns and operates over 130 BURGER KING restaurants across Illinois,

Ohio, North Carolina, Pennsylvania, and Virginia ...” See http://www.tomsking.com/about.html

(last accessed on October 31, 2019).


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       34.      TOMS King is “one of the Top 10 largest BURGER KING franchisees.” Id. It

employs approximately 4,000 “team members,” (id.), of which several hundred are believed to be

RAMs and RGMITs.

       35.     TOMS King maintains strict control, oversight, and discretion over the operation

of its restaurants, including its employment practices with respect to Plaintiffs and the members of

the putative collectives.

       36.     Plaintiffs’ and the members’ of the putative collectives work as RAMs and

RGMITs was performed in the normal course of TOMS King’s business and was integrated into

it.

       37.     Consistent with TOMS King’s policy, pattern and/or practice, Plaintiffs and the

members of the putative collectives worked in excess of forty (40) hours per workweek without

being paid overtime compensation. For example, and upon information and belief, RAMs and

RGMITs are scheduled to work at least 50 hours each workweek (five 10-hour shifts). However,

RAMs and RGMITs routinely work more hours.

       38.     All of the work that Plaintiffs and the members of the putative collectives

performed has been assigned by TOMS King, who is aware of the work they performed. This

work required little skill and no capital investment. Nor did it include managerial responsibilities,

or the exercise of meaningful independent judgment and discretion.

       39.     Pursuant to a centralized, company-wide policy, pattern and/or practice, TOMS

King classifies all RAMs and RGMITs as exempt from the overtime provisions of the FLSA and

PMWA.

       40.     The primary job duties of Plaintiffs and the members of the putative collectives did

not include hiring, firing, disciplining, or directing the work of other employees.


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       41.     The primary job duties of Plaintiffs and the members of the putative collectives did

not materially differ from the job duties of non-exempt hourly paid employees.

       42.     The primary job duties of Plaintiffs and the members of the putative collectives did

not include the exercise of meaningful independent discretion with respect to their duties.

       43.     The primary job duties of Plaintiffs and the members of the putative collectives

were manual and/or clerical in nature. The performance of manual and/or clerical labor occupied

the majority of the working hours of Plaintiffs and the members of the putative collectives.

       44.     Plaintiffs and the members of the putative collectives are similarly situated in that

they have substantially similar job duties and are subject to TOMS King’s common compensation

policies, patterns, and/or practices.

       45.     Upon information and belief, TOMS King did not perform a person-by-person

analysis of Plaintiffs’ and the members’ of the putative collectives job duties when making the

decision to classify RAMs and RGMITs as exempt from overtime under the FLSA and PMWA.

       46.     Due to the foregoing, TOMS King’s failure to pay overtime wages for work

performed by Plaintiffs and the members of the putative collectives in excess of forty (40) hours

per week was willful.

       47.     The work performed by Plaintiffs and the members of the putative collectives

constitutes compensable work time under the FLSA and PMWA and was not preliminary,

postliminary or de minimus.

        48.    TOMS King’s unlawful conduct has been widespread, repeated, and consistent.

                        FLSA COLLECTIVE ACTION ALLEGATIONS

       49.     Plaintiff McGhee brings the First Cause of Action, 29 U.S.C. § 216(b), on behalf

of himself and the RAM Collective.


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        50.   Plaintiff Kerin brings the Second Cause of Action, 29 U.S.C. § 216(b), on behalf

of herself and the RGMIT Collective.

        51.   At all relevant times, Plaintiffs and RAM Collective and RGMIT Collective were

engaged in commerce and/or the production of goods for commerce within the meaning of 29

U.S.C. § and 207(a).

        52.   TOMS King is an employer of Plaintiffs and the members of the putative RAM

Collective and RGMIT Collective and is engaged in commerce and/or the production of goods for

commerce within the meaning of 29 U.S.C. § 207(a).

        53.   At all relevant times, Plaintiffs and the members of the putative RAM Collective

and RGMIT Collective were employees within the meaning of 29 U.S.C. §§ 203(e) and 207(a).

        54.   TOMS King has failed to pay Plaintiffs and the members of the putative RAM

Collective and RGMIT Collective overtime compensation to which they are entitled under the

FLSA.

        55.   TOMS King has failed to keep accurate records of time worked by Plaintiffs and

the members of the putative RAM Collective and RGMIT Collective.

        56.   Defendant is liable under the FLSA for, among other things, failing to properly

compensate Plaintiffs and the members of the putative RAM Collective and RGMIT Collective.

        57.    Consistent with Defendant’s policy and pattern or practice, Plaintiff McGhee and

the members of the putative RAM Collective were not paid overtime compensation when they

worked beyond forty (40) hours in a workweek.

        58.   Similarly, Plaintiff Kerin and the members of the putative RGMIT Collective were

not paid premium overtime compensation when they worked beyond forty (40) hours in a

workweek during training.


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       59.      All of the work that Plaintiffs and the members of the putative RAM Collective and

RGMIT Collective performed has been assigned by Defendant, and/or Defendant has been aware

of such work.

       60.      As part of its regular business practice, Defendant has intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to

Plaintiffs and the members of the putative RAM Collective and RGMIT Collective. This policy

and pattern or practice includes, but is not limited to:

                (a)    willfully failing to pay Plaintiff McGhee and the members of the putative

                       RAM Collective premium overtime wages for hours that they worked in

                       excess of forty (40) hours per workweek;

                (b)    willfully failing to pay Plaintiff Kerin and the members of the RGMIT

                       Collective premium overtime wages for hours that they worked in excess of

                       forty (40) hours per workweek during training;

                (c)    willfully misclassifying Plaintiffs and the members of the putative RAM

                       Collective and RGMIT Collective as exempt from the overtime protections

                       of the FLSA; and

                (d)    willfully failing to record all of the time that its employees, including

                       Plaintiffs and the members of the putative RAM Collective and RGMIT

                       Collective, worked for the benefit of Defendants.

       61.      Defendant is aware or should have been aware that federal law required it to pay

Plaintiffs and the members of the putative RAM Collective and RGMIT Collective overtime

compensation for all hours worked in excess of forty (40) in a workweek.




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       62.    Plaintiff McGhee and the members of the putative RAM Collective perform or

performed the same primary duties.

       63.    Plaintiff Kerin and the members of the RGMIT Collective perform or performed

the same primary duties.

       64.    Defendant’s unlawful conduct has been widespread, repeated, and consistent.

                                   PMWA ALLEGATIONS

       65.    Plaintiffs bring the Third Cause of Action, 43 Pa. Stat. § 333.113, on behalf of

themselves.

       66.    The overtime wage provisions set forth in 43 Pa. Stat. § 333.101 et seq. of the

PMWA apply to TOMS King.

       67.    At all relevant times, Defendant has been, and continues to be an “employer” within

the meaning of the PMWA.

       68.    At all relevant times, Defendant has employed, and/or continues to employ,

“employee[s],” including Plaintiffs, within the meaning of the PMWA.

       69.    The PMWA requires an employer, such as Defendant, to compensate all non-

exempt employees for all hours worked.

       70.    The primary duties of Plaintiffs were non-exempt in nature, and included serving

customers, breaking down shipments, preparing food, setting up displays, stocking shelves,

physically moving merchandise, counting inventory, and cleaning the store.

       71.    As non-exempt employees Plaintiffs are entitled to be paid overtime compensation

for all hours worked in excess of forty (40) in a workweek.

       72.    TOMS King has failed to pay Plaintiffs overtime compensation to which they are

entitled under the PMWA.


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       73.     TOMS King has failed to keep accurate records of time worked by Plaintiffs.

       74.     Defendant is liable under the PMWA for, among other things, failing to properly

compensate Plaintiffs.

       75.     All of the work that Plaintiffs performed was assigned by Defendant, and/or

Defendant was aware of such work.

       76.     Defendant is aware or should have been aware that Pennsylvania law required it to

pay Plaintiffs overtime compensation for all hours worked in excess of forty (40) in a workweek.

       77.     Defendant’s unlawful conduct has been widespread, repeated, and consistent.

                              FIRST CAUSE OF ACTION
                   Fair Labor Standards Act: Unpaid Overtime Wages
              (Brought on Behalf of Plaintiff McGhee and the RAM Collective)

       78.     Plaintiffs reallege and incorporate by reference the above allegations.

       79.     TOMS King has engaged in a widespread policy, pattern or practice of violating

the FLSA in regard to Plaintiff McGhee and the members of the putative RAM Collective, as

detailed in this Collective Action Complaint.

       80.     Upon information and belief, TOMS King established labor budgets to cover labor

costs for the restaurants in which Plaintiff McGhee and the members of the putative RAM

Collective worked. However, TOMS King did not provide sufficient money in the labor budgets

to cover all hours needed to complete the necessary non-exempt tasks in each restaurant.

       81.     TOMS King knew or recklessly disregarded the fact that their underfunding of

restaurant labor budgets resulted in Plaintiff McGhee and the members of the putative RAM

Collective (who were not paid overtime) working more than forty (40) hours in a workweek

without receiving any overtime compensation. This allowed TOMS King to avoid paying

additional wages (including overtime) to the non-exempt, restaurant-level employees.


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       82.     Because TOMS King underfunded restaurant labor budgets, which in turn limited

the amount of money available to pay non-exempt employees to perform manual and customer

service tasks, RAMs were required to – and did – perform these non-exempt tasks.

       83.     In fact, the performance of non-management work was the primary duty of Plaintiff

and the members of the RAM Collective. These primary duties included serving customers,

ringing customers up on the cash register, preparing food, working the drive-thru, stocking,

counting inventory, and cleaning the restaurant.

       84.     TOMS King knew, by virtue of the fact that its upper level management employees

(as its authorized agents) actually saw Plaintiff McGhee and the members of the RAM Collective

primarily perform manual labor and non-exempt duties, that Plaintiff McGhee and other similarly

situated RAMs were not performing activities that complied with any FLSA exemption. Inasmuch

as TOMS King is a substantial corporate entity aware of its obligations under the FLSA, it acted

willfully or recklessly in failing to classify Plaintiff McGhee and other similarly situated RAMs

as non-exempt employees.

       85.     Upon information and belief, and as part of its regular business practices, TOMS

King has intentionally, willfully and repeatedly engaged in a pattern, practice and/or policy of

violating the FLSA with respect to Plaintiff McGhee and the members of the putative RAM

Collective. This policy and pattern or practice includes but it is not limited to:

               (a)     willfully misclassifying Plaintiff McGhee and the members of the putative
                       RAM Collective as exempt from the requirements of the FLSA;

               (b)     willfully failing to pay Plaintiff McGhee and the members of the RAM
                       Collective overtime wages for all hours they worked in excess of forty (40)
                       hours per week; and

               (c)     willfully failing to provide enough money in its restaurant-level labor
                       budgets.


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       86.      TOMS King’s unlawful conduct, as described above, was willful and/or in reckless

disregard of the applicable wage and hour laws pursuant to TOMS King’s centralized, company-

wide policy, pattern, and/or practice of attempting to minimize labor costs by violating the FLSA.

       87.      As further evidence of its willful or reckless failure to classify Plaintiff McGhee

and the members of the RAM Collective as non-exempt employees, TOMS King has uniformly

failed to: (a) accurately track or record actual hours worked by Plaintiff McGhee and the members

of the putative RAM Collective; and (b) provide Plaintiff McGhee and the members of the putative

RAM Collective with a method to accurately record the hours they actually worked.

       88.      TOMS King did not make a good faith effort to comply with the FLSA with respect

to its timekeeping and compensation of Plaintiff McGhee and the members of the putative RAM

Collective.

       89.      TOMS King was or should have been aware that the FLSA required it to pay

employees performing non-exempt duties an overtime premium for hours worked in excess of

forty (40) per week.

       90.      TOMS King is liable under the FLSA for, inter alia, failing to properly compensate

Plaintiff McGhee and the members of the putative RAM Collective for all hours worked in excess

of forty (40) in a workweek.

       91.      Upon information and belief, there are potentially hundreds of similarly situated

current and former RAMs who have been underpaid in violation of the FLSA and who would

benefit from the issuance of a court-supervised notice of this lawsuit and the opportunity to join it.

Thus, notice should be sent to the members of the putative RAM Collective, pursuant to 29 U.S.C.

§ 216(b).




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       92.     The members of the putative RAM Collective are known to TOMS King, are

readily identifiable, and can be located through TOMS King’s records.

       93.     Because TOMS King’s violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255, as it may be further extended or tolled

by agreement, equity or operation of law.

       94.     As a result of TOMS King’s willful violations of the FLSA, Plaintiff McGhee and

the members of the putative RAM Collective have suffered damages by being denied overtime

compensation in accordance with the FLSA, in amounts to be determined at trial, and are entitled

to recovery of such amounts, as well as liquidated damages and attorneys’ fees, pursuant to 29

U.S.C. § 216(b).

                             SECOND CAUSE OF ACTION
                       Fair Labor Standards Act – Unpaid Overtime
              (Brought on behalf of Plaintiff Kerin and the RGMIT Collective)

       95.     Plaintiffs reallege and incorporate by reference the above allegations.

       96.     TOMS King has engaged in a widespread pattern and practice of violating the

FLSA during the RGMIT’s training period, as described in this Collective Action Complaint.

       97.     TOMS King had a uniform policy of requiring RGMITs to participate in a several

week training program in order to become Restaurant General Managers.

       98.     TOMS King uniformly classified Kerin and the members of the putative RGMIT

Collective as exempt during training and did not pay them overtime compensation, despite being

required by TOMS King to work overtime during training.

       99.     The primary duties of Plaintiff Kerin and the members of the RGMIT Collective

were non-exempt in nature, and did not include hiring, firing, disciplining, or directing the work

of other employees.


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       100.    The performance of non-management work was the primary duty of Plaintiff Kerin

and the members of the RGMIT Collective.

       101.    During training, the primary duty of Plaintiff Kerin and the members of the RGMIT

Collective was learning the operations of TOMS King’s restaurants and how to perform the

functions of a Restaurant General Manager, and therefore, their duties during training did not fall

within any of the exemptions under federal or state overtime laws.

       102.    Upon information and belief, and as part of its regular business practices, TOMS

King has intentionally, willfully and repeatedly engaged in a pattern, practice and/or policy of

violating the FLSA with respect to Plaintiff Kerin and the members of the putative RGMIT

Collective. This policy and pattern or practice includes but it is not limited to:

               (a)     willfully misclassifying Plaintiff Kerin and the members of the putative
                       RGMIT Collective as exempt from the requirements of the FLSA; and
               (b)     willfully failing to pay Plaintiff Kerin and the members of the putative
                       RGMIT Collective overtime wages for all hours that they worked in excess
                       of forty (40) hours per week during training.

       103.    TOMS King’s unlawful conduct, as described above, was willful and/or in reckless

disregard of the applicable wage and hour laws pursuant to TOMS King’s centralized, company-

wide policy, pattern, and/or practice of attempting to minimize labor costs by violating the FLSA.

       104.    As further evidence of its willful or reckless failure to classify Plaintiff Kerin and

the members of the RGMIT Collective as non-exempt employees, TOMS King has uniformly

failed to: (a) accurately track or record actual hours worked by Plaintiff KERIN and the members

of the putative RGMIT Collective during their training period; and (b) provide Plaintiff Kerin and

the members of the putative RGMIT Collective with a method to accurately record the hours they

actually worked.

       105.    TOMS King did not make a good faith effort to comply with the FLSA with respect


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to its timekeeping and compensation of Plaintiff Kerin and the members of the putative RGMIT

Collective.

       106.    TOMS King was or should have been aware that the FLSA required it to pay

employees performing non-exempt duties an overtime premium for hours worked in excess of

forty (40) per week.

       107.    TOMS King is liable under the FLSA for, inter alia, failing to properly compensate

Plaintiff Kerin and the members of the putative RGMIT Collective for all hours worked in excess

of forty (40) in a workweek during their training period.

       108.    Upon information and belief, there are potentially dozens of similarly situated

current and former RGMITs who have been underpaid in violation of the FLSA and who would

benefit from the issuance of a court-supervised notice of this lawsuit and the opportunity to join it.

Thus, notice should be sent to the members of the putative RGMIT Collective, pursuant to 29

U.S.C. § 216(b).

       109.    The members of the putative RGMIT Collective are known to TOMS King, are

readily identifiable, and can be located through TOMS King’s records.

       110.    Because TOMS King’s violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255, as it may be further extended or tolled

by agreement, equity or operation of law.

       111.    As a result of TOMS King’s willful violations of the FLSA, Plaintiff Kerin and the

members of the putative RGMIT Collective have suffered damages by being denied overtime

compensation in accordance with the FLSA, in amounts to be determined at trial, and are entitled

to recovery of such amounts, as well as liquidated damages and attorneys’ fees, pursuant to 29

U.S.C. § 216(b).


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                                THIRD CAUSE OF ACTION
                     Pennsylvania Minimum Wage Act – Unpaid Overtime
                      (Brought on behalf of Plaintiffs McGhee and Kerin)

       112.     Plaintiffs reallege and incorporate by reference the above allegations.

       113.     Defendant has engaged in a widespread pattern, policy, and practice of violating

the PMWA, as detailed in this Collective Action Complaint.

       114.     TOMS King’s unlawful conduct was willful and/or in reckless disregard of the

PMWA, and was done pursuant to TOMS King’s centralized, company-wide policy, pattern and/or

practice of attempting to minimize labor costs by misclassifying Plaintiffs as exempt but requiring

them to perform non-exempt duties as their primary duties.

       115.     At all relevant times, Defendant had a policy and practice of failing and refusing to

pay overtime compensation to Plaintiffs for all hours worked in excess of forty (40) in a workweek.

       116.     As a result of Defendant’s failure to pay overtime compensation earned and due to

Plaintiffs at a rate not less than one and one-half times their regular rate of pay for work performed

in excess of forty (40) hours in a workweek, Defendant has violated the PMWA.

       117.     As a result of TOMS King’s violation of the PMWA, Plaintiffs suffered damages

by being denied overtime compensation in accordance with the PMWA, in amounts to be

determined at trial, and are entitled to recovery of such amounts, as well as attorneys’ fees,

pursuant to 43 Pa. Stat. § 333.113.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the members of the putative

RAM and RGMIT Collectives, pray for the following relief:

       a.       Designation of this action as an FLSA collective action on behalf of Plaintiff

                McGhee and the members of the putative RAM Collective, and prompt issuance of


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         notice pursuant to 29 U.S.C. § 216(b) to all similarly situated members of the RAM

         Collective, apprising them of the pendency of this action, permitting them to assert

         timely FLSA claims in this action by filing individual Consents to Join pursuant to

         29 U.S.C. § 216(b), and tolling of the statute of limitations;

b.       Designation of this action as an FLSA collective action on behalf of Plaintiff Kerin

         and the members of the putative RGMIT Collective, and prompt issuance of notice

         pursuant to 29 U.S.C. § 216(b) to all similarly situated members of the RGMIT

         Collective, apprising them of the pendency of this action, permitting them to assert

         timely FLSA claims in this action by filing individual Consents to Join pursuant to

         29 U.S.C. § 216(b), and tolling of the statute of limitations;

c.       An award of unpaid overtime compensation for all hours worked in excess of forty

         (40) in a workweek at a rate of time and one-half of the regular rate of pay due

         under the FLSA and PMWA using the following common methodology for

         calculating damages: ((Annual Salary ÷ 52) ÷ 40) x Total Number of Overtime

         Hours Worked x 1.5;

d.       An award of liquidated damages under the FLSA and PMWA as a result of TOMS

         King’s willful failure to pay for all hours worked in excess of forty (40) in a

         workweek at a rate of time and one-half of the regular rate of pay;

e.       An award of damages representing TOMS King’s share of FICA, FUTA, state

         unemployment insurance, and any other required employment taxes;

f.       An award of service payments to Plaintiffs;

g.       An award of pre-judgment and post-judgment interest;

h.       An award of costs and expenses of this action, together with reasonable attorneys’


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                and expert fees to Plaintiffs’ counsel pursuant to the FLSA;

       i.       An injunction requiring TOMS King to cease its practice of violating the FLSA in

                the future;

       j.       Issuance of a declaratory judgment that the practices complained of in this

                Collective Action Complaint are unlawful and/or willful under the FLSA; and

       k.       Such other and further relief as this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all questions of fact raised by this Collective Action Complaint.

Dated: November 12, 2019                      s/ Jason Conway________________
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